                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE

IN RE:                              )             Chapter 7
                                    )             Case No. 20-10553 (CSS)
ART VAN FURNITURE, LLC, et al.,     )
                                    )
                      Debtors.      )
___________________________________ )
TODD STEWART and JENNIFER           )
SAWLE on behalf of themselves and   )
all others similarly situated,      )
                                    )
                      Plaintiffs,   )
     v.                             )             Adv. Pro. No.: 20-50548 (CSS)
                                    )             Related Adv. Docket No.: 43, 47, 49
ART VAN FURNITURE, LLC, et al.,     )
                                    )
                      Defendants.   )


         For the reasons set forth in the Court’s Opinion dated March 21, 2022 it is hereby

ordered that:


         1)     Chapter 7 Trustee’s Motion for Summary Judgment [D.I. 43] filed on

November 12, 2021 is Granted.


         2)     The Plaintiffs’ Motion for Class Certification and Related Relief [D.I. 47]

filed on November 14, 2021 is Denied as Moot.


         3)     Plaintiffs’ Cross Motion to Defer Ruling [D.I. 49} filed on December 3, 2021

is Denied.
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                                                  Christopher S. Sontchi
                                                  United States Bankruptcy Judge

Dated: March 21, 2022
